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                                              U.S. Department of Justice
                                                        United States Attorney
                                                        District of Maryland

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                                                        March 31, 2020

The Honorable Deborah L. Boardman
United States Magistrate Judge
United States District Court
  for the District of Maryland
101 W. Lombard Street
Baltimore, MD 21201

Via CM/ECF

           Re:        United States v. Rajeim Ali Bradshaw, DKC-20-070

Dear Judge Boardman:

        In advance of tomorrow’s detention hearing in the above-referenced case, I write to provide
the Court with facts relevant to the Government’s motion for detention. In the Government’s view,
there are no conditions or combination of conditions of release that will reasonably assure (1) the
Defendant’s appearance at future court proceedings and (2) the safety of the community. 18 U.S.C.
§ 3142(f), (g). While defense counsel has yet to raise any arguments about the risks presented by
the spread of COVID-19, the Government believes the risks posed by pre-trial release in this case
outweigh those risks.

       The Defendant is currently charged with unlawfully possessing a firearm in violation of 18
U.S.C. § 922(g) but, as explained below, this case involves much more than the unlawful
possession of a gun by a prohibited person.1 And of course, those facts are part of the “nature and
circumstances” of the offense charged.

        On June 20, 2019, the Baltimore County Police executed a search warrant at the
Defendant’s residence, 5698 Leiden Road, Baltimore. The police obtained that search warrant
based on a drug arrest of the Defendant’s son, Urek, which occurred earlier that day right outside
of the residence. Based on the statements of the Defendant’s wife, Pamela Bradshaw, it is believed
that the only three residents of 5698 Leiden Road were the Defendant, Pamela Bradshaw, and Urek
Bradshaw.


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  There is a strong likelihood of a superseding indictment in this case but, as the Court is aware, the
Government has essentially no ability to seek a superseding indictment until the grand jury resumes with
its sessions.
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        In the basement and spare bedroom of 5698 Leiden Road, law enforcement recovered 5.5
kilograms of fentanyl, a kilogram of heroin, and host of manufacturing and distribution
paraphernalia.2 As the Court has probably been made aware, two milligrams of fentanyl can be a
lethal      dose,     see      DEA         Officer    Safety       Alert,      available    at
https://www.dea.gov/sites/default/files/2018-07/hq092216_attach.pdf; as such, the amount of
fentanyl recovered from 5698 Leiden Road is enough to kill millions of people.

        In addition to the staggering quantity of drugs found in the basement and spare bedroom,
law enforcement recovered from the Defendant’s bedroom two firearms (an AR-15 style rifle and
a .40 caliber pistol), live ammunition, about an ounce of cocaine, over $40,000 in cash, and
numerous cell phones. A search of those cell phones pursuant to a warrant revealed a number of
drug trafficking-related conversations and contacts with various international phone numbers (e.g.,
Mexico and others).

        On these facts alone, I think there is a strong basis for detention. But those aren’t the only
facts. Following Urek Bradshaw’s arrest, he was charged in Baltimore County with essentially all
of the drugs recovered from the house. What, then, did the Defendant do? On information and
belief, the Defendant, knowing that he possessed with intent to distribute (whether solely or
jointly) the drugs in the common areas of the house, abandoned his home, figuratively leaving his
own son “holding the bag.” The Defendant’s abandonment of the home that he owns was
seemingly confirmed by Pamela Bradshaw in a jail call between her and her son, Urek, in which
she indicated that she had no intention of ever returning to 5698 Leiden Road.3

        Law enforcement was able to track down and arrest the Defendant in March 2020. At the
time of his arrest, the Defendant was meeting with another individual in his vehicle in a parking
lot. A search of the vehicle yielded the recovery of over $17,000, $900 of which was on the
Defendant’s person. Law enforcement also recovered two phones that it believes belonged to the
Defendant. After Defendant was seized, law enforcement attempted to confirm that they had the
right person in custody by asking the Defendant what his name was. The Defendant would not
provide his name to law enforcement.

        Finally, it is worth noting that if the Defendant is charged with the 5.5 kilograms of fentanyl
recovered from his home, his base offense level would be a 34 (a Guidelines range of ~12.5–15.6
years’ imprisonment for the lowest criminal history category). That base offense level does not
take into account any enhancements for his simultaneous possession of firearms, at least one of
which was stolen, nor does it account for the fact of a potential consecutive term of imprisonment
of 5 years under 18 U.S.C. § 924(c). This is all to say that the Defendant now has significant
potential criminal liability exposure, giving him all the more reason to abscond.

        In short, the nature and circumstances of this case include the following: (1) the unlawful
possession of multiple firearms, including an AR-15 style rifle, and ammunition; (2) the suspected
possession with intent to distribute 5.5 kilograms of fentanyl and a kilogram of heroin; (3)
significant evidence of drug trafficking, including large amounts of cash and drug-related text
messages; (4) numerous foreign contacts; (5) abandoning the home that he owns immediately or
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 Lab analysis for the drugs in this case has already been completed.
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 Law enforcement also believes that the Defendant changed vehicles after learning of the search at 5698
Leiden Road.
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shortly after the recovery of a large amount of dangerous drugs and firearms, despite the fact that
his own son was left to be charged with those drugs; (6) suspected continued involvement in drug
trafficking through the time of his arrest; and (7) significant potential criminal liability exposure,
providing further incentive to flee the jurisdiction and avoid prosecution.

       I anticipate both parties addressing the factors set forth in 18 U.S.C. § 3142(g) at
tomorrow’s hearing and will therefore reserve the balance of my discussion for the hearing.


                                                      Respectfully,

                                                      Robert K. Hur
                                                      United States Attorney

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